                              United States District Court
                            Western District of North Carolina
                                   Asheville Division

        Andre David Williams,           )              JUDGMENT IN CASE
                                        )
               Plaintiff,               )             1:23-cv-00214-MR-WCM
                                        )
                  vs.                   )
                                        )
        Todd E. Ishee, et al,           )
            Defendants.                 )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s December 30, 2024 Order.

                                               December 30, 2024




    Case 1:23-cv-00214-MR-WCM           Document 48     Filed 12/30/24   Page 1 of 1
